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Attorneys for Richard J. Samson, Trustee

                         UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MONTANA
 IN RE:

 SCOTT K. WILLIAMS,                                         Case No. 9:22-bk-90147-BPH

            Debtor.


 RICHARD J. SAMSON, AS CHAPTER 7                             Adversary No. 23-09001
 TRUSTEE OF THE ESTATE OF SCOTT
 K. WILLIAMS,

            Plaintiff,
                                                        CHAPTER 7 TRUSTEE’S AMENDED
 v.                                                       WITNESS and EXHIBIT LIST

 CANDY WILLIAMS AND VIKING
 INVESTMENTS LLC,

            Defendants.

                             CHAPTER 7 TRUSTEE’S WITNESS LIST

       Richard J. Samson, Chapter 7 Trustee for the bankruptcy estate of Debtor Scott K.

Williams (“Trustee”), through counsel, submits the following amended lists of witnesses and

exhibits for the trial in this matter which is scheduled for December 6, 2023, in Missoula,

Montana.



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                                         WITNESSES

       1.      Richard J. Samson, 310 W. Spruce Street, Missoula, MT, 59802;

       2.      Scott K. Williams, 11423 Spotted Fawn LN, Bigfork, MT, 59911;

       3.      Candy Williams, 11423 Spotted Fawn LN, Bigfork, MT, 59911;

       4.      Kent Williams, 2786 Oakwood Drive, Bountiful, UT, 84010;

       5.      Brenda Harbers, 131 Double Tree Court, Imperial, Missouri, 63052;

       6.      Any witness identified by any other party;

       7.      Any witness present in the courtroom and available to testify; and

       8.      Any rebuttal witnesses.

                                          EXHIBITS

       Copies of Trustee’s exhibits are attached. Trustee numbered previously-marked

deposition exhibits with the number given in the depositions. For other exhibits, Trustee began

numbering at 100.

 Exhibit No.                                       Exhibit Name

                                     DEPOSITION EXHIBITS MARKED

       1         US Bank Statement, Scott and Candy Williams, July 17, 2019 (redacted)

       3         Order granting Plaintiffs’ Ex Parte TRO, July 1, 2019

       4         Summons to Scott Williams, July 17, 2019

       5         First Amended Complaint against Scott Williams, July 7, 2019

       7         Zions Bank Statement for Hugh L. Williams Trust, June 28, 2019 (redacted)

       8         Zions Bank Statement for Hugh L. Williams Trust, July 31, 2019 (redacted)




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11     Exhibit A- Scott Williams Response to Subpoena

12     US Bank Statement, Scott and Candy Williams, August 16, 2019 (redacted)

13     Viking Investments Articles of Organization, July 25, 2019

14     Viking Investments Operating Agreement, July 25, 2019

15     Settlement Statement for 11423 Spotted Fawn Lane dated Sept. 27, 2019

16     Quitclaim Deed from Viking Investments to Candy Williams, December 26, 2019


17     Candy Williams Residential Loan Application, Dec. 26, 2019 (redacted)

19     Settlement Statement, Candy Williams Loan, Dec. 23, 2019

20     Deed of Trust, Dec. 26, 2019

24     Deed of Trust, April 26, 2021

25     Arial photo of 11423 Spotted Fawn Lane

                              NON-DEPOSITION EXHIBITS

100    Zion's Bank Cashier Check Records, July 2019 (redacted)

101    Kent Williams Receipt, June 27, 2019

102    Kent Williams Unsigned Receipt

103    Brenda Lee Harbors Receipt, June 28, 2019

104    Personal Representative Deed to Viking Investments, LLC, Sept. 27, 2019


105    Closing Disclosure, Candy Williams, April 22, 2021

106    Complaint, Jan. 30, 2023

107    Answer, March 2, 2023




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108    Glacier Bank - Viking Investment Bank Statements, July 2019 - August 2023


109    Candy and Scott Williams 2020 Tax Return (redacted)

110    Scott Williams 2019 Schedule K-1 from Hugh Williams Family Trust (redacted)

111    Viking Investments 2019 Tax Return (redacted)

112    Candy Williams 2019 Tax Return (redacted)

113    Estate of Hugh L. Williams Proof of Claim 10, May 26, 2023

114    Scott Williams Bankruptcy Petition, September 30, 2022

115    Viking Investments title to 2018 Forest River 5th Wheel

116    Candy Williams Title to 2006 FGB Boat

117    Viking Investments Title to 2014 Cadillac

118    Viking Investments Title to 2015 Subaru

119    Glacier Bank - Candy Williams Statement, May 18, 2021

120    Glacier Bank - Candy Williams Statement, June 18, 2021

121    America First Bank Statement, Candy Williams, Dec. 31, 2019 (redacted)

122    America First Bank Statement, Candy Williams, Feb. 1, 2020 (redacted)

123    US Bank, Scott Williams Savings Statement, July 24, 2019 (redacted)

124    US Bank, Scott Williams Savings Statement, Dec. 24, 2019 (redacted)

125    Scott Williams Waiver of Discharge Under 11 U.S.C. Section 727(a)(10)

126    Complaint, 9:23-ap-09008-BPH, July 21, 2023

127    Candy Williams' Responses to Plaintiff's First Discovery Requests, March 25,
       2023




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128      Viking Investments' Responses to Plaintiff's First Discovery Requests, March 25,
         2023

129      Declaration of Candy Williams, November 3, 2023

130      Transcript, 341 Creditor Meeting, In re: Scott K. Williams, Nov. 10, 2022

131      Transcript, 341 Creditor Meeting, In re: Scott K. Williams, Dec. 9, 2022

132      Deposition of Scott K. Williams, Sept. 14, 2023

133      Deposition of Candy Williams, Sept. 14, 2023

134      Scott Williams August 2019 Credit Card Statements (redacted)

         Any Exhibits identified by any other party

         Impeachment Exhibits



 DATED this 15th day of November, 2023

                                     GOETZ, GEDDES & GARDNER, P.C.


                                     /s/ Trent M. Gardner               .
                                     Trent M. Gardner
                                     Hannah S. Willstein
                                     Attorneys for Chapter 7 Trustee




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies under penalty of perjury that on the 15th day of
November, 2023, a copy of the foregoing was served (i) by electronic means pursuant to LBR
9013-1(d)(2) on the parties noted in the Court’s ECF transmission facilities and/or (ii) by mail on
the following parties: None.


                                             /s/ Trent M. Gardner                 .
                                             Trent M. Gardner
                                             Hannah S. Willstein
                                             Attorneys for Chapter 7 Trustee




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